
In an action under article 15 of the Real Property Law, to compel the determination of a claim to real property, judgment, entered in favor of defendant after trial by the court without a jury, reversed on the law and the facts and a new trial granted, with costs to abide the event. The deed to Benroth Realty Company, together with the testimony that the plaintiff and another individual did business under that name, may be sufficient to establish prima facie the existence of a competent grantee. (Partnership Law, § 12.) A new trial is granted in the interests of justice, inasmuch as it is claimed, but not provéd, that the named grantee was a- myth, not capable of holding title to real property. Lewis, P. J, Carswell, Johnston, Adel and Sneed, JJ., concur.
